This is an appeal by all the above-named plaintiffs, except G. S. Umpleby, who has dismissed the appeal, so far as his interests are concerned, from an amended judgment entered on February 9, 1916, in which the trial court found that the interest of Nellie D. Richards in certain land was not subject to certain liens, etc.
The appeal is by the alternative method, and on the clerk's transcript alone.
[1] The exact condition of the record here is, as was said in the case of Welk v. Sorensen et al., 179 Cal. 604, [178 P. 498]; "Appellant neither prints any of the record in the brief, nor designates in any way the parts of the transcript upon which the alleged 'Statement of Facts' is based. We will not, therefore, consider the brief."
By virtue of the rule followed in that case this court will not consider the briefs here.
Judgment affirmed.
Finlayson, P. J., and Sloane, J., concurred.